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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                              MDL NO. 3023
EYE INJURY PRODUCTS
LIABILITY LITIGATION

                                                                         SECTION “H” (5)

THIS DOCUMENT RELATES TO:
ALL CASES

           SANOFI US SERVICES INC. AND SANOFI-AVENTIS U.S. LLC’S
            MOTION TO DISMISS MASTER LONG FORM COMPLAINT

       Defendants sanofi-aventis U.S., LLC and Sanofi US Services, Inc. (“Sanofi”) respectfully

submit this Motion to Dismiss Master Long Form Complaint.

       As more fully set forth in the attached Memorandum in Support, Plaintiffs’ claims against

Sanofi should be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6).




 Respectfully submitted,

  /s/ Douglas J. Moore
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                                                   Counsel for sanofi-aventis U.S. LLC and
                                                   Sanofi U.S. Services Inc.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 28, 2022, I electronically filed the foregoing with the Clerk of

the Court using the ECF system which sent notification of such filing to all counsel of record.

                                                      /s/ Douglas J. Moore




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